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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                                   )
NATIONAL FAMILY PLANNING &                         )
REPRODUCTIVE HEALTH ASSOCIATION,                   )
                                                   )
               Plaintiff,                          )
                                                   )
       v.                                          )
                                                   )      No. 1:25-cv-01265 (ACR)
ROBERT F. KENNEDY, JR., in his official            )
capacity as United States Secretary of Health      )
and Human Services, et al.,                        )
                                                   )
               Defendants.                         )
                                                   )

            PLAINTIFF’S RESPONSE TO DEFENDANTS’ PRE-MOTION NOTICE

       Defendants’ Pre-Motion Notice, ECF No. 14 (“Defs.’ Notice”), asserts three bases for

dismissal, none of which have merit. Defendants argue that jurisdiction lies only in the Court of

Federal Claims; that there is no final agency action under the Administrative Procedure Act

(“APA”); and that Plaintiff has failed to state an ultra vires claim. “Where, as here, the defendant

challenges only the legal sufficiency of the plaintiff’s jurisdictional allegations” in a 12(b)(1)

motion, “the Court assumes the truth of all material factual allegations in the complaint and

construes the complaint liberally, granting the plaintiff the benefit of all inferences that can be

derived from the facts alleged.” Zarghami v. Rubio, 2025 WL 885123, at *2 (D.D.C. Mar. 21,

2025) (cleaned up).1 The same standard applies to a 12(b)(6) motion, which a plaintiff survives

by setting forth a “facially plausible” claim “that allows the court to draw the reasonable inference




1
 Unless otherwise indicated, all emphasis is added and all internal quotation marks and citations
are omitted.
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that the defendant is liable for the misconduct alleged.” Manjunath v. Mayorkas, 2023 WL

2913641, at *3 (D.D.C. Apr. 10, 2023).

       First, to fall within the jurisdiction of the Court of Federal Claims, a claim must be “at its

essence a contract claim.” Crowley Gov’t Servs., Inc. v. Gen. Servs. Admin., 38 F.4th 1099, 1106

(D.C. Cir. 2022) (emphasis in original). This is not such a case. Defendants chiefly rely on

Department of Education v. California, 145 S. Ct. 966 (2025), but that case sought an “order[] to

enforce a contractual obligation to pay money.” Id. at 968. By contrast, Plaintiff challenges the

cart-before-the-horse administrative procedure employed by Defendants to withhold funds now

and investigate later, which is contrary to statute (42 U.S.C. § 2000d-1) and regulations (45 C.F.R.

§§ 75.371, 80.8), and is arbitrary and capricious. Compl. ¶¶ 95–98, 107, 114–120. These are

archetypal APA claims, and this Court is not deprived of jurisdiction simply because the requested

relief should lead Defendants to release the grant funds. “[A] district court’s jurisdiction ‘is not

barred by the possibility’ that an order setting aside an agency’s action may result in the

disbursement of funds.” Dep’t of Educ. v. California, 145 S. Ct. at 968 (quoting Bowen v.

Massachusetts, 487 U.S. 879, 910 (1988)). Indeed, subsequent to the California decision, the en

banc D.C. Circuit in Widakuswara v. Lake, 2025 WL 1521355 (D.C. Cir. May 28, 2025), reversed

a panel’s stay of a preliminary injunction raising this same issue because—in the language of Judge

Pillard’s panel dissent, which was “substantially” adopted by the en banc court—“[i]f a plaintiff’s

claim depends on interpretations of statutes and regulations rather than the terms of an agreement

negotiated by the parties, the claim is not in essence contractual,” 2025 WL 1288817, at *12.

Moreover, the Court of Federal Claims has no power to grant the equitable relief that Plaintiff

seeks here. Bowen, 487 U.S. at 905; Compl. at 34 (“Prayer for Relief”).




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       Second, both elements of the test for final agency action are satisfied here. Defendants’

March 31 Letters: (1) mark the consummation of the Agency’s decisionmaking regarding the

process for withholding Title X funds from grantees, as well as whether to withhold funds from

specific grantees, Compl. ¶¶ 4–6, 8, 12, 56, 62; and (2) impose immediate legal consequences on

Plaintiff’s Affected Members by withholding funds that, in the normal course, should have been

disbursed to them, thereby severely harming them, their subrecipients, staff, and patients, id. ¶¶ 4,

8, 12, 55, 87–90. That Defendants characterize their action as temporary, see Defs.’ Notice at 3,

is “unconvincing because final does not mean permanent—just because [the agency] maintains

the ability to reverse these actions at some unidentified point in the future, that does not change

the fact that the agency has made decisions, communicated them to their . . . grantees, and thereby

altered their rights and obligations.” Widakuswara v. Lake, No. 1:25-CV-1015-RCL, 2025 WL

1166400, at *12 (D.D.C. Apr. 22, 2025) (emphasis in original), appeal pending, No. 25-5144,

(D.C. Cir. filed Apr. 24, 2025). The fact that Defendants recently stated their intent to release

withheld funds to four of the sixteen affected grantees does not alter the analysis.2

       Third, Plaintiff is aware that ultra vires is a “doctrine of last resort,” Defs.’ Notice at 3–4,

which is why Plaintiff has pleaded the ultra vires claim “[i]n the alternative,” Compl. ¶ 123. Thus,

to the extent this Court agrees that Plaintiff’s APA claims are reviewable, Plaintiff’s ultra vires

claim need not be reached. But Defendants cannot have their cake and eat it too by contending,

on the one hand, that the ultra vires claim must be dismissed because it is “not the only one



2
  On June 25, 2025, four of Plaintiff’s Affected Members received letters from Defendant Amy
Margolis informing them that the Office of Assistant Secretary for Health is restoring their
previously withheld Title X grants (although no funds have yet been disbursed). That same day,
the other twelve impacted grantees—ten of which are currently Plaintiff’s members—received
letters informing them that their grant funds remain withheld based on possible violations of
federal anti-discrimination laws and requesting additional information to assess compliance.
                                                  3
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available option to Plaintiff” given the APA, Defs.’ Notice at 4, and asserting, on the other hand,

that there is no “final agency action that can be contested under the APA,” id. at 3. Both things

cannot be true. Accordingly, to the extent this Court determines that review under the APA is

unavailable to Plaintiff, the ultra vires claim should not be dismissed, as Plaintiff has alleged facts

that, if taken as true, clearly demonstrate that the agency has “transgress[ed] clear and mandatory

limits that Congress has imposed on its authority.” Changji Esquel Textile Co. v. Raimondo, 40

F.4th 716, 725 (D.C. Cir. 2022); see Compl. ¶¶ 75–76, 82–86, 123–126.3

       Finally, because it is apparent that the arguments on Defendants’ motion to dismiss

significantly overlap with the arguments on Plaintiff’s motion for summary judgment, they should

be briefed simultaneously, particularly in light of the need for an order from this Court before the

potential reversion of funds to the Treasury at the end of the fiscal year. Such simultaneous

briefing is not uncommon. See, e.g., RELX, Inc. v. Baran, 397 F. Supp. 3d 41, 45 (D.D.C. 2019)

(denying motion to dismiss and granting summary judgment in APA case); Philip Morris USA

Inc. v. FDA, 202 F. Supp. 3d 31, 36 (D.D.C. 2016) (denying motion to dismiss and granting

summary judgment in part in APA case); Liu v. Novak, 509 F. Supp. 2d 1, 2 (D.D.C. 2007)

(denying motion to dismiss and granting summary judgment in APA case); see also McGehee v.

U.S. Dep’t of Just., 362 F. Supp. 3d 14, 18 (D.D.C. 2019) (“District courts enjoy broad discretion

[in] case management and scheduling matters.”).




3
  Because Plaintiff’s claims do not arise under the Tucker Act, see supra 2, Defendants’ contention
that the ultra vires claim is similarly “foreclosed” because Plaintiff could bring its claims “before
the Court of Federal Claims,” Defs.’ Notice at 4, also fails.
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June 30, 2025,
                                    Respectfully submitted,

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